Case 3:17-cv-00072-NKM-JCH Document 978-5 Filed 06/11/21 Page 1 of 4 Pageid#:
                                 16374




                   EXHIBIT E
Case 3:17-cv-00072-NKM-JCH Document 978-5 Filed 06/11/21 Page 2 of 4 Pageid#:
                                 16375




                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.



  DECLARATION OF DEVIN WILLIS IN SUPPORT OF PLAINTIFFS’ SUBMISSION
         REGARDING VENUE FOR TRIAL AND TRIAL LOGISTICS
Case 3:17-cv-00072-NKM-JCH Document 978-5 Filed 06/11/21 Page 3 of 4 Pageid#:
                                 16376



I, Devin Willis, declare as follows:

           1.    I am a Plaintiff in the lawsuit captioned Sines v. Kessler, No. No. 3: 17-cv-00072-

 NKM.

           2.    I provide this declaration in support of Plaintiffs’ Submission Regarding Venue for

 Trial and Trial Logistics.

           3.    The statements made in this declaration are based on my personal knowledge. If

 called to testify, I could and would testify under oath competently and truthfully to each of the

 statements in this declaration.

           4.    I chose to file this lawsuit in Charlottesville, Virginia, because that is where the

 Defendants harmed me.

           5.    In August 2017, when the events at issue in this case took place, I was an

 undergraduate student at the University of Virginia (“UVA”). I was entering my sophomore year

 of college. I received my bachelor’s degree from UVA in the spring of 2020, although I refrained

 from attending my college graduation in-person in part because I was scared to return to

 Virginia.

           6.    After receiving my bachelor’s degree, I left the United States. I continue to live

 abroad.

           7.    I am planning to return to the United States to attend the trial in-person. I

 anticipate that returning to Virginia for the trial will be difficult for me.

           8.    It is important to me to conduct this trial in the place where I was injured, to hear

 a jury of my peers render a verdict regarding the Defendants’ conduct, who planned this event

 in my new home. After the events in this case occurred, I felt like a stranger in Charlottesville,

 the town that was my new home. I filed this case because I hoped that doing so would help me
Case 3:17-cv-00072-NKM-JCH Document 978-5 Filed 06/11/21 Page 4 of 4 Pageid#:
                                 16377



 regain the sense that I was welcome in the community that I lived in for such an important part

 of my life. If the trial takes place outside of Charlottesville, I will lose the thing I most hoped to

 gain by bringing this lawsuit in the first place.

         9.      Despite my anxiety, I am planning to attend the trial in-person in Charlottesville

 because I want to participate fully and because I know I can look to my community of friends

 in Charlottesville to support me emotionally during what is certain to be a difficult time. I will

 also be relying on them for material support, including housing and transportation during the

 trial. If the trial takes place outside of Charlottesville, I could incur substantial costs to pay for

 assistance that is available to me in Charlottesville for free. I have been living paycheck to

 paycheck since the spring of 2020 and cannot afford to pay for housing or transportation during

 the trial.

         10.     I declare under penalty of perjury that the foregoing is true and correct. Executed

 on June 10, 2021 in Mexico City, Mexico.



                                       ____________________________
                                       Devin Willis




                                                     3
